Case 2:19-bk-10489-BR   Doc 36 Filed 04/30/19 Entered 04/30/19 19:55:31   Desc
                        Main Document     Page 1 of 10
Case 2:19-bk-10489-BR   Doc 36 Filed 04/30/19 Entered 04/30/19 19:55:31   Desc
                        Main Document     Page 2 of 10
Case 2:19-bk-10489-BR   Doc 36 Filed 04/30/19 Entered 04/30/19 19:55:31   Desc
                        Main Document     Page 3 of 10
Case 2:19-bk-10489-BR   Doc 36 Filed 04/30/19 Entered 04/30/19 19:55:31   Desc
                        Main Document     Page 4 of 10
Case 2:19-bk-10489-BR   Doc 36 Filed 04/30/19 Entered 04/30/19 19:55:31   Desc
                        Main Document     Page 5 of 10
Case 2:19-bk-10489-BR   Doc 36 Filed 04/30/19 Entered 04/30/19 19:55:31   Desc
                        Main Document     Page 6 of 10
Case 2:19-bk-10489-BR   Doc 36 Filed 04/30/19 Entered 04/30/19 19:55:31   Desc
                        Main Document     Page 7 of 10




                             EXHIBIT 1
Case 2:19-bk-10489-BR   Doc 36 Filed 04/30/19 Entered 04/30/19 19:55:31   Desc
                        Main Document     Page 8 of 10
Case 2:19-bk-10489-BR   Doc 36 Filed 04/30/19 Entered 04/30/19 19:55:31   Desc
                        Main Document     Page 9 of 10
Case 2:19-bk-10489-BR   Doc 36 Filed 04/30/19 Entered 04/30/19 19:55:31   Desc
                        Main Document    Page 10 of 10
